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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF GEORGIA
                                       ATLANTA DIVISION

             UNITED STATES OF AMERICA,                   :
                 Plaintiff,                              :
                                                         :
                   v.                                    :    CRIMINAL INDICTMENT NO.
                                                         :    1:09-CR-0406-TCB-JFK-2
             BENJAMIN STANLEY,                           :
                 Defendant                               :

                            UNITED STATES MAGISTRATE JUDGE’S FINAL
                                REPORT AND RECOMMENDATION

                   Defendant, Benjamin Stanley, currently is serving a 192-month sentence based

             on his fraud convictions in this Court entered under the above criminal docket number.

             (Doc. 283). The matter is before the Court on Defendant’s “Motion to vacate, set-

             aside, correct or remand for dismissal a jury guilty verdict under F.R.Civ.P. 60(b).”

             (Doc. 317).

                   The Court entered Defendant’s judgment and commitment order on February

             24, 2012. (Doc. 283). Defendant has appealed to the Eleventh Circuit Court of

             Appeals, where his counseled appeal currently remains pending. United States v.

             Stanley, No. 12-11126 (11th Cir. filed Mar. 1, 2012). In this Court, Defendant has

             filed a pro se “Motion to vacate, set-aside, correct or remand for dismissal a jury guilty

             verdict under F.R.Civ.P. 60(b).” (Doc. 317). Defendant states that he is filing his




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             motion to redress the following “grievances”: the lack of a fair trial, a violation of his

             Sixth Amendment rights, the prevention of his presentation of evidence, ineffective

             assistance of counsel, and the use of criminal rather than contract law in his criminal

             case. (Id. at 1).

                    As a general rule, “a defendant may not seek collateral relief while his direct

             appeal is pending.” United States v. Khoury, 901 F.2d 975, 976 (11th Cir. 1990); see

             also United States v. Casaran-Rivas, 311 F. App’x 269, 272 (11th Cir. 2009)

             (“[A]bsent extraordinary circumstances, a defendant may not seek collateral relief

             while his direct appeal is pending, as the outcome of the direct appeal may negate the

             need for habeas relief.”). Based on the grievances for which Defendant states that he

             seeks redress, the Court finds no extraordinary circumstances that warrant the pursuit

             of collateral proceedings while Defendant’s direct appeal is pending. Further, the

             Court has no authority under Fed. R. Civ. P. 60(b) to review or modify Movant’s

             federal convictions or sentences. See United States v. Mosavi, 138 F.3d 1365, 1366

             (11th Cir. 1998) (“Rule 60(b) simply does not provide for relief from judgment in a

             criminal case[.]”). This action should be dismissed without prejudice as premature.




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                   For the reasons stated above,

                   IT IS RECOMMENDED that Defendants’ “Motion to vacate, set-aside, correct

             or remand for dismissal a jury guilty verdict under F.R.Civ.P. 60(b)[,]” (Doc. 317),

             be DISMISSED without prejudice as premature.

                   The Clerk of Court is DIRECTED to withdraw the referral of the above motion

             to the Magistrate Judge.

                   IT IS SO RECOMMENDED and DIRECTED, this 3rd day of July, 2013.




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